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.:_".,'E' viii
UNITED STATES DISTRICT COURT "`r; ' ‘- '.`w. ;"_"U""'f
CEN'I`RAL DISTRIC'I` OF CALIFORNIA [ l : r
Ji'll\l 28,'1,",§ l
UNITED STATES 0F AMERICA vs. cn XX-XXXXXXX\"19 -O?/ *
De|'endant’s Nacne MNS_ Social Securlty No. CE~WL D¢l";»`. "" CI‘ Cl’-t.iF(-)i??#lA
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_________lm_Angel.es,_CA_‘)_il_i]lZ___

 

JUDGMENT AND PROBATION/COMMITMENT ORDER
NUNC.BRQ.THN_C_T_O_.[AN].IARIQ,M

 

MONTH DAY YEAR

In the presence Of the attorney for the govemmcnt, the defendant appeared in person on this date.

…

COUNSELZ WITHOUT COUNSEL However, the Court advised defendant of right to counsel and asked whether defendant

desired to have counsel appointed by the Court and the defendant thereupon waived
assistance of counse|.

 

X WITH COUNSEL Fllen M Bat`t'y (Panell
` (N amc of Counsel)
PLEA: __}_L GUILTY, and the Court being satisfied that there is a factual basis for the plea. _ NOLO CONTENDERE
NOT GUILTY
FINDINGZ There being a finding/verdict of _X___ GUILTY, defendant has been convicted as charged of the offense(s) of:

29 U.S.C. 439(b): Ommission cfa Material Fact in a Labor Report.

HJDGMENT The Court asked whether defendant had anything to say why judgment should not be pronounced. Because no sufficient

AND PROBJ cause to the contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and
COMMl'I‘ME.N’I` convicted and ordered that; Pursuant to the Sentencing Refon'n Act of 1984, it is the judgment of the Court that the

ORDER: defendant John V. Aikens, is hereby placed on probation on Count l of the single count lnformation
for a term of 3 years under the following terms and conditions: (l) 'I`he defendant shall comply with the rules and

regulations of the U.S. Probation Ofiice and General Order 318; (2) The defendant shall not be employed in any
capacity wherein he has the custody, control & management of his employer’s fundsl

in addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions
of Probation and Supervised Release set out and attached to this judgment be imposed. The Court may change the
conditions of supervision., reduce or extend the period of supervision, and at any time during the supervision period

or within the maximum period permitted by law, may issue a warrant and revoke s
occurring during the supervision period. z
Signed By: ,_X__ U.S. Magistrate Judge 0 4744 v /V'

JAMES W. McMAI-ION

  

It is ordered that the Clerk deliver a certified copy . SHERRl R. CARTER, CLERK

of this Judgment and Probation/Commitment Orde

to the U.S. Marshal or other qualified officer.
DatedfFiled langlng t 20§12 By' 'l AEFl§res

Deputy Clerk

 

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While the defendant is on probation or supervised release pursuant to this Judgment: ‘ '*

l. 'Ihe defendant shall not commit another Federal, state or
local crime;

2. 'l'he defendant shall not leave the judicial district Without
the written permission of the court or probation ofiicer,

3. 'I`l'ie defenth shall report to the robetion officer as
directed by the court or probation o teer and shall submit a
truthful and complete written report within the first five days
of each month;

4. 'Ihe defendant shall answer truthfully all iritguiries by the
prfpbation officer and follow the instructions o the probation
o icer‘,

5. "lhe defendant shall crt his or her dependents and
meet other family responsi ilities',

6. 'Ihe defendant shall work regularly at a lawful occupation
unless excused by the probation officer for schooling,
training, or other acceptable reasons;

7. The defendant shall notify the probation officer within 72
hours of any change in residence or employrnent;

8. 'Ihe defendant shall refrain from excessive use of alcohol

and shall not purchase, posses, use, distribute, or administer

any narcotic or other controlled substance, or any

paraphernalia related to such substances, except as prescribed
y a physician;

9. 'Ihe defendant shall not frequentiplaces where controlled
substances are illegally sold, used, stributed or
administered.;

10. The defendant shall not associate with any persons
engaged in criminal activity, and shall not associate with any
person convicted of a felony unless granted permission to do
so by the probation ofticer;

ll. 'Ihe defendant shall permit a probation officer to visit

him or her ant any time at home or elsewhere and shall

lpermit confiscation of any contraband observed in plain view
y the probation ofticer',

12. 'Ihe defendant shall notify the probation officer within
72 hours of beiri‘t_g arrested or questioned by a law
enforcement o icer,

l3. 'Ihe defendant shall not enter into any ent to act
as an informer or a special agent of a law orcement
agency without the permission of the court;

14. As directed by the probation officer, the defendant shall
notify third parties of risks that may be occasioned by the
defendant’s criminal record or personal history or
characteristics and shall permit the robation officer to make
notifications and to conform the de endant’s compliance with
such notification requirernent',

l$. 'Ihe defendant shall not possess a firearm or other
dangerous weapon;

16` The defendant shall, upon release from anyzperiod of
custody, report to the probation officer within hours.

The conditions are in addition to any other conditions imposed by this Judgment.

 

 

 

 

 

 

 

 

 

RE`HEN
I have executed the within Judginent and Commit:ment as follows:
Defendant delivered on to
Defendant noted appeal on
Defendant released on
Mandate issued on
Defendant’s appeal determined on
Defendant delivered on " - ) _ '_ to
`\'-ll _' `r`- \`-l/n .-_=7
at \ ' - ./?/. `1 . the institution designated
by the Bureau`of Prisons, with a cuujeg¢cdpy of the within Judgment and Cornmitment.
s 'j-"' ' er "= ‘.;
' -' ._-' -; ; se UN`ITED S'I`ATES MARSHAL
DATED: ' ,t` ;`~`- BY:
r-: ':‘ _ 7 ,;\`\_
\ ` CLRIIHQA.TE

l hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my

office, and in my legal custody.

DA'I`ED:

 

A0.245.B (01/90)

CLER.K, U.S. DISTRICT COURT

BY:

 

IUDGMENT AND PROBATIONICONM'I'MEN'I` ORDER

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Case 2:95-cr-OlOOO-I\/|c Document 12 Filed 01/24/02 Page 3 of 4 ,»E>ag,o;|,B~.#iBw

UNITED STATES DISTRIC'I` COURT
CENTRAL DISTRICT OF CALIFORNIA

 

UNITED STATES OF AMERICA Dockei No. CR - 95-100{}
vs.
,IQHN Y. A|KENS Date: Jannai;y 9 199L

 

 

JUDGMENT AND PROBATION/COMMITMENT ORDER

 

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Pursuant to Section 5El.2(f) of the Guidelines, all fines are waived including the cost of imprisonment or
supervision as it is found that the defendant does not have the ability to pay

lt ls Further Ordered that the defendant shall pay to the United States a special assessment of $25.00.

If Is Further Ordered the govemment’s motion to dismiss the on count complaint under case No. 95-1825M, is
granted.

Bond is exonerated

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t :’_-`. ira ' §f
SignedBy: __X____ U.S.Magistrate ludge M/P] & ' /W /

mines w. McMTsHoN

   

SHERRJ R. CAR'I'ER1 CLERK

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Deputy Clerk

 

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of each month;

4. 'l`lie defendant shall answer truthfully all inpuiries by the
' prfp_bation officer and follow the instructions o the probation
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5. 'l`he defendant shall support his or her dependents and
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7. 'Ihe defendant shall notify the probation officer within 72
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8. The defendant shall refrain from excessive use of alcohol
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9. The defendant shall not frequent faces where controlled
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14. As directed by the probation officer, the defendant shall
notify third parties of risks that may be occasioned by the
defendant’s criminal record or personal history or
characteristics and shall permit the robation officer to make
notifications and to conform the de endant’s compliance with
such notification requirement;

15. The defendant shall not possess a firearm or other
dangerous weapon;

l6. The defendant shall, upon release from any eriod of
custody, report to the probation officer within 7 hours.

'Ihe conditions are in addition to any other conditions imposed by this ludgmerit.

BEJI.[BN

l have executed the within Judgment and Commitrnent as follows:

Det`endant delivered on

Defendant noted appeal on

to

 

Defendant released on

 

Mandate issued on

 

Defendant’s appeal determined on

Defendant delivered on .'. z c

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by the Bureau of Prisons, with a certified cilp§;of~‘die within Judgment and Commitment.
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to

. the institution designated

BY:

 

l hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my

office, and in my legal custody.

DATED:

 

A0-245-B (01/90)

CLERK, U.S. D[S'IRICT COUR'I`

BY:

 

J'UDGMENTAND PROBA'I'[ON/COMMI'I`MEN'I` ORDER

